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                     UNITED STATES COURT OF APPEALS
                          FOR THE SIXTH CIRCUIT

UNITED STATES OF AMERICA,               )    CASE NO: 24-4107
                                        )
             Plaintiff-Appellee,        )
                                        )
      v.                                )
                                        )    APPELLEE’S MOTION FOR A
CHRISTOPHER UGOCHUKWU,                  )    30-DAY EXTENSION OF TIME
                                        )    WITHIN WHICH TO FILE
             Defendant-Appellant.       )    APPELLEE’S BRIEF


      Plaintiff-Appellee, the United States of America, through undersigned

counsel, respectfully moves this Court for a 30-day extension of time, until April

30, 2025, within which to file the United States’ brief. The requested extension is

not for purposes of delay, but to ensure a complete response to Defendant-

Appellant Christopher Ugochukwu’s brief.

      The United States’ brief is currently due on March 31, 2025. However,

undersigned counsel needs additional time to review the issues in this case and

complete a thorough response to Ugochukwu’s arguments. The United States,

therefore, respectfully requests that the Court grant a 30-day extension, until April

30, 2025, within which to file its brief.
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      This is the United States’ first extension request in this appeal. Ugochukwu

will not be prejudiced because he is in custody serving his 320-month sentence.



                                            Respectfully submitted,

                                            CAROL M. SKUTNIK
                                            Acting United States Attorney
                                            Northern District of Ohio

                                      By: /s/ Joseph H. Walsh
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